           Case 1:14-vv-00850-UNJ Document 76 Filed 05/19/17 Page 1 of 7




In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

******************** *
LAWRENCE BROWN,          *
                         *                         No. 14-850V
             Petitioner, *                         Special Master Christian J. Moran
                         *
v.                       *                         Filed: October 25, 2016
                         *
SECRETARY OF HEALTH      *                         Stipulation; influenza (“flu”) vaccine;
AND HUMAN SERVICES,      *                         Chronic Inflammatory Demyelinating
                         *                         Polyneuropathy (“CIDP”)
             Respondent. *
******************** *

Ronald C. Homer and Lauren Faga, Conway, Homer & Chin-Caplan, Boston, MA,
for Petitioner;
Julia W. McInerny, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                             UNPUBLISHED DECISION1

       On October 24, 2016, the parties filed a joint stipulation concerning the
petition for compensation filed by Lawrence Brown on September 15, 2014. In his
petition, petitioner alleged that the influenza vaccine, which is contained in the
Vaccine Injury Table (the “Table”), 42 C.F.R. §100.3(a), and which he received on
October 14, 2011, caused him to suffer Chronic Inflammatory Demyelinating
Polyneuropathy (“CIDP”). Petitioner further alleges that he suffered the residual
effects of this injury for more than six months. Petitioner represents that there has
been no prior award or settlement of a civil action for damages on his behalf as a
result of his condition.



       1
         The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services), requires that the Court post this decision on its
website. Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing
redaction of medical information or other information described in 42 U.S.C. § 300aa-12(d)(4).
Any redactions ordered by the special master will appear in the document posted on the website.
            Case 1:14-vv-00850-UNJ Document 76 Filed 05/19/17 Page 2 of 7



     Respondent denies that the influenza vaccine caused petitioner to suffer
GBS or any other injury.

      Nevertheless, the parties agree to the joint stipulation, attached hereto. The
undersigned finds said stipulation reasonable and adopts it as the decision of the
Court in awarding damages, on the terms set forth therein.

        Damages awarded in that stipulation include:

        A lump sum payment of $425,000.00 in the form of a check payable to
        petitioner, Lawrence Brown. This amount represents compensation for
        all damages that would be available under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 14-850V according to this decision
and the attached stipulation.2

        Any questions may be directed to my law clerk, Dan Hoffman, at (202) 357-
6360.

        IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




        2
          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.

                                                2
       Case 1:14-vv-00850-UNJ Document 76 Filed 05/19/17 Page 3 of 7




                             IN Tll E UN ITED STATES CC)l;tn OF FEDER.I\ I. C l. A l ~·1 S
                                       OF FI CE OF SPl-:C l.:\ I MASTF.RS

I .A WR ENCE BROW \:.                                           1.:1 -850\/
                                                                Spec ial !\,laster Mnran
                      Petitioner.                               FCF
       \   .

SF.C RF.TARY OF ll EAl.TI I
AN D l IUMAN SF.RV ICF.S.

                      _Respondent.        _____,
                                               STIP t:J ,,\TIOI\

               fh: pa11ies hcrehy stipulate to the fo lhi\\'ing ma1h: rs:

               I. l.awn: nce Rrnwn (.. petitioner'"! !iku a petition ror vacc ine compensntion under the

National Vaccine Injury Compensation Program. 42 U.S.C . § :rnoaa- 10 to 34 (the .. Vacc ine

Program" ). Petitioner seeks e<'mpcnsati1rn for injuries allegedly rel ated t~) the seasonal in lluen1a

(·· nu··i \'aCc ine. v. hich \·m:ci nc is cont<1incd in the Vaccine       l nj ur~ Ta~l e   (the·· l'ahk '"). 42 C'.1-. R.

~    I 00.> (a).

               2. Petitioner received hi s ll u vaccine on Cktoher 1-L 20 11 .

               :l. !"he vacc ine was adm inistered \\'ithin the United States.

               4. Petiti oner alleges that he suffered Chro ni c lnllammat11ry Dcmyelinati ng.

 Polyncuropath y (.. C IDP") as a result nl'his llu 1;ao.:ination. Petitioner lun her al leges that he

 experienced the resiJual effects or this conditi on fo r more than six months.

               S. Petitione r represents tht'l t there has been nn prior award or settlement nf a ci,·il

 action        ror damages as a result of his co ndition.
                6. Respondent denies that the nu \'aCcinc caused pt:l itioncr's alleged (' fl)(> 1)r any other

    injury nr his cu rrent cond ition.

                7. Maintaining thei r ahc)\'e-statcd posit ions.   th~   panics ncvcnhclcss now agree 1ha1 the
     Case 1:14-vv-00850-UNJ Document 76 Filed 05/19/17 Page 4 of 7




issues bet\\'een them shal l he -;euled and thllt a decision slwuld he entered awarding 1he

c~Jm pcnsation         (kscrihed in paragraph 8 of thi s Stipulation.

         8. As soon as pract icuhlc after an entry of.iudgment rellect ing a decision consistent \Vith

the tenn s c,fthis Stipulation. and allc r petitioner has lih:d an election to n:ceivc cnmprnsati un

pursuant tn 42 ll.S.C.           ~ .~OOaa-21(al( 1 ).   the Secretary nf I !eallh and I luman Sen ices ,.,i ll is'.">ue

the followi ng vaccine compensation payment:

             /\ lump sum or $425.000.00 in the form c,f a check payabk to petit ioner.
             Thi s amount represents compensation flir al l damngcs that woul<l he
             a\·ai Iah le unckr 42 U.S.C. ~ >OOaa-1 5(a) .

             9. As Sl)On as prat: tic:able a fter the entry of judgment on entitlement in thi s case. and

after petitioner has 1iled both a proper and timely election to receive compensation pursuant to

42 U.S.C.       ~     >OOaa-2 l (a )( I). llnd an application . the parties " ·ill submit to furt her proceedings

 before the special master to award reasonable al\orncys· ti:es and costs incum:d in proceedi ng

 upon 1his petit ion.

              I0. Petitioner and hi:- attorney rt:prcsent that 1hcy have idcnti lied to respondent all

 knt)\\·I)   sour~es     or payment ror items or services fo r H"hich the Prngram is nOl primarily liahk
 under .t2 Ll.S .C.        ~   300aa-1 S(g l. including State compensation programs. insurance pol it:it's.

 Federal or Stale health bcnelits programs (other than Title XIX ot" the Social Security /\ct (42

 LI.S.C. ~ 1396 ct seq .)). or e n1i1ie ~ that pro,·ide health services on a pre-paid hasis.

              11 . l'aymcnt made pursuant to paragraph 8 of this Stipulation and any a11wun1s a\\'ar<led

  pursuant      Ill   paragraph 9 wi 11 he made in accon.lance with 42 l '.S.C. ~ 300aa- 1)( il. subject 10 the

  availa bi Ii ty () r SU f'tic ient stat ulor~ funds.

               1~ - The parties and their allorneys further agree and stipulate that. except for any a''ard

  fo r attorneys· fcc:s and litigation w~ts. and past unrcimhursed expenses. the monl'Y prO\·ided
       Case 1:14-vv-00850-UNJ Document 76 Filed 05/19/17 Page 5 of 7




pursuant 10 this Sti pulution. \.Viii he uscJ S<'ldy for the bent: li t l'f petitioner as c0nkmplakd         h~   a

strict construction or 4 2 l J.S.C.     *.l00aa-l   5(a)   anJ (cl). and subject to the conditions or 42 l.i .S.C.

~   300aa-15( g) and (h ).

           I J. In return for the payments described in paragraphs 8 and 9. petiti on.:r. in his

im.liYidunl capaci ty. and on hchal t' ot'hi s heirs. cxccuwrs. admi nistrators. successors or assi~n s .

docs fore\'cr irrc\'ocably and um:nnJitilmally release. m:quit nnd discharge the l Jnitcd States and

the    Scc rctar~   orl lcalth and I luman Sen ices from any anJ nil aclit1ns or causes nr actio n
(including agreements. .iudgmcnts. claims. damages. loss or services. expenses and al l de mands

l'f whatever kind or nature J that have been brought. could ha,·e bc.:cn bwught. or could he time!~

bn1ught in the Court or1-cdc.:ral Claims. under the              ational Vaccine lnj ur} Compensation

 Program. 42 l l.S.C.      ~   300aa- I0 ct s.:q .. on account of. or in an y way !:'.nm ing out 01·. any and al I

 known nr un known. suspected or unsuspel·tcd personal injuries to 1)r death or pctitinner n:sulting

    from. or allt.:g.ed to ha,·c resul ted from. the tlu ,·acci nmion administered on October 14. 20 11 . as

 alleged by petiti0ncr in a peti tion for ,·acc inc compensation filed on or about September 15.

    20 14. in the ll nited St:.itcs Coun or Federal Claim s as petitinn Nl'. l-t -850V.

            1-L 11° petitioner should die prior to entry of j udgment. this agrccml!nt shall be ' t1idablc

    upon prope r notice tn the Court on hchal fo l" cithcr or both or the parties.

             15. Ir the special 11HIS\\!r fails lO issue a decision in compll'le CClnformi1:- \\ ith the ll'rm s

    of thi s Stipulation or if the Court \lf Federal Claims fails to cnh:r j udgment in conformity with a

    decis ion that is in complete conformit y "ith the terms of this Stipulation. then tht: parties·

     se1tlemen1 and this Sti pu lation shal l be voidable •ti the sole discretion oreither p:irty.

             16. This Stipulation cxpresscs a rull and complete negotiated sctt k mcnt or liability and

     damagt:s claimed under the l'atinna l Childhood Vacci ne Injury /\ct ot' 1986. as amended . cxccpl
       Case 1:14-vv-00850-UNJ Document 76 Filed 05/19/17 Page 6 of 7




as othi.:nvis...: noted in pa ragraph 9 abcl\'t..:. Th...:ri.: is absolutely no agreement nn the rart ul" thc

pai1ics hereto to mak...: any pa} mcnl or to do any act or thing other than is hi.:rcin c-..:prcssly stm...:d

and clearly agr...:cd to. The partks ru11her agree and understand that the award desc ribed in thi.

St irul <ltion 111<1)- rellci.:t a wmprt>m is..: nfth..: pa11ics· respcctin: r ositi<,ns as to liul"lil ity and 'or

;-imount   or damages. and further. that a chang..: in the nature t'f thl' injury or conditi on or in the
items of comrcnsation sought. is not !:_!rounds to modify nr rl'\·ise 1his ag reemt'nt.

           17. Thi s Stipulation shall not ne construed as an admission hy lhe t :nited States or the

Sccr...:tary or I lcalth and I luman Scn ·ices that the llu vacc ine caused petitioner to suffer< ·mp or

 any nthcr injury.

           lR. All rights and nbliga1i11ns of petitioner hcrcundi:r shal l apply equall) 10 pctitiond s

 hci rs. ...::-;ecutors. ad mi 11 ist rahirs. suc...:cssors. anclinr assi gns.

                                                LND O F STIPlJ L/\ TIO .




  .'
Case 1:14-vv-00850-UNJ Document 76 Filed 05/19/17 Page 7 of 7




 Pl·~
  .TIT[{, :~:

 -- . /!h [)___--
 !. •\     RENCE l31WW'.\

 /\T l'OR N l~Y OF rn:COTrn FOil.                                         Aff lTORlZ.F.D REJ>U E:-i f.NT AT! Vf'
 PfTITIONf. R:
                                                                          ( ~(;J•:~
~~fik{f!jjffih~s
         fl. /fc)fdJ
 C..ONWA Y. llO:\iU.I~ ~                          ~3.
                                                                          l /I l'I i.'\ l\ 11'iE F. RIJ·:\' FS

  Cl-ll N·C1\ t'LA:"I
 1h Shiw,m111 Strrd                                                       Ci -.·il fl 1·:i-;iM
 B1>~;J (•n , \1J\ 021 ! 11                                               l    .s. ' >~r nrtinc::it •JI Ju ..:1i<:t·
 (i\     ~ l "''~ · 19•1\!                                                !-' ,() fh'lX 1'!('
                                                                          lk nj 1•.1nil 1 Fran';; iin " ta t\(•n
                                                                          \Va ~h i llj.! \.:Hl. I)( ' ~:•.J O•i.J..O I ·l<i




                                                                              ATTORNF.Y OF RE C()}W FOH
                                                                              R li.SI'ONU ENT :




  fiit«'i:lor. Divisi:1!111f !11J11r:· Co:npi:11sa1h1n
                                                                              A~...~;~~~~
                                                                          G'.X11i<11"!'1i;tl .~ th••w:y r . k!
                                                                                                               'P~ R .        11
  Prugr;uns (i }J(.'P i
  l lc11lthrmc S ys!~m-; Jl11tL'!111
                                                                              T.~:c~Q Hr::~ld\
                                                                               l .1\ 11 ()1 \·!~ JC :n
                                                                                                        \}..._µr(J.! 25            .
  1lcahh R t·St~ur.;1.:s :u1d Sc~vicc ;; /\ d111i:1 i~t lT1tl <' ll            U.S . fkp111 trnqlt •·! J 11 ~ iii:(·
  l!.S. Dcp1:r1.men1 ;1f! k l'lt h and H11111\m Sr.rvk\·~                       1-' .i l . .13(1-: J 4r,
   511tJ( 1 Fish::n I iUI<:                                                   · P.tni:11pi11 Fr.111•:iii1 Stati1.11·
   J'11rkl:iwn     !SuiiJi n~,    :vlr.1'   ') lc)p Ol-l~l I 4t; !\              W11$hini;tp:1, Ut . 2<tf!•l·I 1 1 t ·l: o
   Rc~tb      i lk , M l l   2 n~:· 1                                           {;:ll2! ) F . .WJ• 1




                                                                      5
